          Case 2:90-cv-01669-JCZ Document 223-2 Filed 07/25/24 Page 1 of 6


       PROCEEDINGS OF THE ST. JOHN THE BAPTIST PARISH SCHOOL BOARD
                                          PUBLIC HEARING
                                          JANUARY 30, 2024
                                              5:00 P.M.
             FIFTH WARD ELEMENTARY SCHOOL ~ RESERVE, LOUISIANA


The Board President read the following:

   The St. John the Baptist Parish School Board will hold a public hearing to obtain public comment
   regarding the consideration of consolidation of St. John the Baptist Parish Public Schools. The
   public hearing will be held Tuesday, January 30, 2024 at Fifth Ward Elementary School, 158
   Panther Drive, Reserve, Louisiana, beginning at 5:00 p.m.


The following Board members were present: Samuel Mamou, Charo Holden, Raydel Morris, and
Shawn Wallace. There was not a quorum of members.

At 5:10 p.m., the President read the agenda items aloud:

Robert L. Hammonds/Mike Hefner – Presentation of draft plans for consolidation of public
schools in St. John the Baptist Parish


Receive public comment/input regarding the draft plans for consolidation of public schools in St.
John the Baptist Parish


Mr. Bob Hammonds addressed the audience and thanked everyone for attending. Mr. Hammonds
explained that he is the lawyer that represents the School Board in the long-standing desegregation
litigation. He stated the following: Many families have left St. John Parish following Hurricane Ida.
Funding for public education comes from 2 sources: state and local funding. The portion that is state-
funded is known as MFP (Minimum Foundation Program), and is derived at using a formula based on
the number of students registered in the public school system and is a very complicated formula. Due
to the loss of student population in our parish, there is a $8 million loss in funding. The School Board
has a legal obligation to operate under a balanced budget, which means they cannot spend more than
they receive. Due to the loss of funding, the School Board has to consider making cuts. One way to
cut costs is to consider consolidation of schools. We have been provided information that shows St.
John Parish Schools has the capacity to house 10,000 students. Because we have 5200 students, this is
a viable option. Mr. Heffner and I attempted to come up with a plan to move the fewest amount of
students and move them to the closest possible school from their home. After looking at all the
schools, East St. John Prep is the only 4th-8th grade school and Fifth Ward Elementary is the only K-3rd
grade school. Logically, the least amount of moving would be to revert East St. John Prep back to a
K-8 school, moving FEW students there. ESJP does not have the capacity to absorb all the K-3
students, so other schools will absorb some of the students. We are here tonight to hear from the public
regarding these changes. Mr. Hammonds then asked Mr. Heffner to speak on the redistricting.

Mike Heffner, demographer, is the person who has worked on the maps that are being proposed.
There were large maps of both the current district lines and the map showing the proposed changes
provided for the public to look over. He provided an explanation of the process of redrawing the lines
for school districts.

The floor was opened for public comment. The following members of the public made comments:

Stefanie Aubert, retired teacher
Rajean Butler, current principal of Fifth Ward Elementary
Katrina Tobias, custodian and Fifth Ward Elementary
Robert Taylor, resident of Reserve
Timmy Keller, resident of Reserve
Robert Roussell, resident of Garyville, pastor of First Baptist Church in Reserve, husband of teacher at FWE
Lydia Gerard, resident of St. John



                                              EXHIBIT 2                                          -1-
         Case 2:90-cv-01669-JCZ Document 223-2 Filed 07/25/24 Page 2 of 6
       SJBP School Board Public Hearing ~ January 30, 2024                        ~     Page |2




Alice Duhon, teacher at Fifth Ward Elementary
Madison Roussell, teacher at Fifth Ward Elementary
Sylvia Taylor, District 57 Representative
Mary Hampton, resident of Reserve
Lisa Anderson, cafeteria manager at Fifth Ward Elementary
Ferrell Bering, pastor

Following public comment, Mr. Mamou, Ms. Holden, Mr. Morris and Mr. Wallace thanked the public
for their attendance and participation. They stated that they will take all comments under
consideration when making this decision.


There being no public comment, the hearing was closed at 6:11 p.m.




________________________________                            ________________________________
Cleo Perry, Secretary                                       Shawn Wallace, President




                                                                                         -2-
          Case 2:90-cv-01669-JCZ Document 223-2 Filed 07/25/24 Page 3 of 6


       PROCEEDINGS OF THE ST. JOHN THE BAPTIST PARISH SCHOOL BOARD
                                          PUBLIC HEARING
                                          JANUARY 31, 2024
                                              5:00 P.M.
               LAPLACE ELEMENTARY SCHOOL ~ LAPLACE, LOUISIANA


The Board President read the following:

   The St. John the Baptist Parish School Board will hold a public hearing to obtain public comment
   regarding the consideration of consolidation of St. John the Baptist Parish Public Schools. The
   public hearing will be held Wednesday, January 31, 2024 at LaPlace Elementary School, 393
   Greenwood Drive, LaPlace, Louisiana, beginning at 5:00 p.m.


The following Board members were present: Raydel Morris, Jennifer Frizzell, Samuel Mamou,
Debbie Schum, Shawn Wallace.

At 5:06 p.m., the President read the agenda items aloud:

Robert L. Hammonds/Mike Hefner – Presentation of draft plans for consolidation of public
schools in St. John the Baptist Parish


Receive public comment/input regarding the draft plans for consolidation of public schools in St.
John the Baptist Parish


Mr. Bob Hammonds addressed the audience and thanked everyone for attending. Mr. Hammonds
explained that he is the lawyer that represents the School Board in the long-standing desegregation
litigation. He stated the following: Many families have left St. John Parish following Hurricane Ida.
Funding for public education comes from 2 sources: state and local funding. The portion that is state-
funded is known as MFP (Minimum Foundation Program), and is derived at using a formula based on
the number of students registered in the public school system and is a very complicated formula. Due
to the loss of student population in our parish, there is a $8 million loss in funding. The School Board
has a legal obligation to operate under a balanced budget, which means they cannot spend more than
they receive. Due to the loss of funding, the School Board has to consider making cuts. One way to
cut costs is to consider consolidation of schools. We have been provided information that shows St.
John Parish Schools has the capacity to house 10,000 students. Because we have 5200 students, this is
a viable option. Mr. Heffner and I attempted to come up with a plan to move the fewest amount of
students and move them to the closest possible school from their home. After looking at all the
schools, East St. John Prep is the only 4th-8th grade school and Fifth Ward Elementary is the only K-3rd
grade school. Logically, the least amount of moving would be to revert East St. John Prep back to a
K-8 school, moving FEW students there. ESJP does not have the capacity to absorb all the K-3
students, so other schools will absorb some of the students. We are here tonight to hear from the public
regarding these changes.

Mike Heffner, demographer, is the person who has worked on the maps that are being proposed.
There were large maps of both the current district lines and the map showing the proposed changes
provided for the public to look over.

The floor was opened for public comment. The following members of the public made comments:

Annette Houston, retired educator
Leonard James, resident of Reserve
Shondrell Perrilloux, resident of LaPlace
Leroy Bell, resident of LaPlace
Dr. Celestine-Brumfield, mother of Fifth Ward Elementary student
Carolyn Batiste, resident
Ann Stringer, mother of Fifth Ward Elementary student
Peaches Sanders, teacher of Fifth Ward Elementary



                                                                                                 -3-
         Case 2:90-cv-01669-JCZ Document 223-2 Filed 07/25/24 Page 4 of 6
       SJBP School Board Public Hearing ~ January 31, 2024                     ~     Page |2


Kizzy Major, mother of Fifth Ward Elementary student
Keshawn Carter Davenport, LES PTO
Continue Chestnut, resident
Jaleesia Balque, resident
Wendell James, Rebecca Lane, parents
Clarence Wilkens, resident
Victor Jones, Atty. NAACP Defense Fund
Joyce Pierre, grandmother of Fifth Ward Elementary student
Byron Preston, student of Fifth Ward Elementary student
Melody Matt, student of Fifth Ward Elementary student
Rajean Butler, principal of Fifth Ward Elementary student
Nikki Sool (sp.), teacher
Lennis Madere, retired teacher
Robert Roussell, Garyville Pastor
Mary Hampton, resident of Reserve


There being no public comment, the hearing was closed at 6:42 p.m.




________________________________                         ________________________________
Cleo Perry, Secretary                                    Shawn Wallace, President




                                                                                      -4-
          Case 2:90-cv-01669-JCZ Document 223-2 Filed 07/25/24 Page 5 of 6


       PROCEEDINGS OF THE ST. JOHN THE BAPTIST PARISH SCHOOL BOARD
                                          PUBLIC HEARING
                                          FEBRUARY 1, 2024
                                              5:00 P.M.
             FIFTH WARD ELEMENTARY SCHOOL ~ RESERVE, LOUISIANA


The Board President read the following:

   The St. John the Baptist Parish School Board will hold a public hearing to obtain public comment
   regarding the consideration of consolidation of St. John the Baptist Parish Public Schools. The
   public hearing will be held Thursday, February 1, 2024 at Garyville/Mt. Airy Magnet School, 240
   Highway 54, Garyville, Louisiana, beginning at 5:00 p.m.

The following Board members were present: Albert Burl, III, Patricia Triche, Raydel Morris, Jennifer
Frizzell, Samuel Mamou, and Shawn Wallace. There was a quorum of members.

At 5:10 p.m., the President read the agenda items aloud:

Robert L. Hammonds/Mike Hefner – Presentation of draft plans for consolidation of public
schools in St. John the Baptist Parish


Receive public comment/input regarding the draft plans for consolidation of public schools in St.
John the Baptist Parish


Mr. Bob Hammonds addressed the audience and thanked everyone for attending. Mr. Hammonds
explained that he is the lawyer that represents the School Board in the long-standing desegregation
litigation. He stated the following: Many families have left St. John Parish following Hurricane Ida.
Funding for public education comes from 2 sources: state and local funding. The portion that is state-
funded is known as MFP (Minimum Foundation Program), and is derived at using a formula based on
the number of students registered in the public school system and is a very complicated formula. Due
to the loss of student population in our parish, there is a $8 million loss in funding. The School Board
has a legal obligation to operate under a balanced budget, which means they cannot spend more than
they receive. Due to the loss of funding, the School Board has to consider making cuts. One way to
cut costs is to consider consolidation of schools. We have been provided information that shows St.
John Parish Schools has the capacity to house 10,000 students. Because we have 5200 students, this is
a viable option. Mr. Heffner and I attempted to come up with a plan to move the fewest amount of
students and move them to the closest possible school from their home. After looking at all the
schools, East St. John Prep is the only 4th-8th grade school and Fifth Ward Elementary is the only K-3rd
grade school. Logically, the least amount of moving would be to revert East St. John Prep back to a
K-8 school, moving FEW students there. ESJP does not have the capacity to absorb all the K-3
students, so other schools will absorb some of the students. We are here tonight to hear from the public
regarding these changes.

Mike Heffner, demographer, is the person who has worked on the maps that are being proposed.
There were large maps of both the current district lines and the map showing the proposed changes
provided for the public to look over. He provided an explanation of the process of redrawing the lines
for school districts.

The floor was opened for public comment. The following members of the public made comments:

Victor Jones, NAACP Legal Defense Fund Atty.
Carolyn Batiste, resident of Laplace
Ms. Belvin, resident of West bank
Tina Galloway Edler, paraeducator
Latoya Mero, resident of LaPlace
Russe Wise, former Board member
Brittany Edwards
Kara Lawson, principal of GMMS



                                                                                                 -5-
         Case 2:90-cv-01669-JCZ Document 223-2 Filed 07/25/24 Page 6 of 6
       SJBP School Board Public Hearing ~ February 1, 2024                      ~     Page |2


Tatum Stringer, parent of Fifth Ward Elementary student
Wendell James, parent of Fifth Ward Elementary student
Jalessa Balque
Keshawn Carter, parent of LES student
Sylvia Taylor, 1967 graduate of Fifth Ward Elementary
Lester Smith, teacher of Fifth Ward Elementary
Kizzy Major
Bryon Preston
Erica Lazo, parent of Fifth Ward Elementary student
Peaches Sanders, LaPlace resident
Lennis Madere, St. John Councilmember
Whitney Joseph, resident of Reserve, former teacher, former assessor
Alvin Scioneaux, resident
Derron Cook, resident and teacher in St. John
Rajean Butler, principal of Fifth Ward Elementary

There being no public comment, the hearing was closed at 7:55 p.m.




________________________________                          ________________________________
Cleo Perry, Secretary                                     Shawn Wallace, President




                                                                                       -6-
